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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

DB INSURANCE CO., LTD.                      §
                                            §
vs.                                         §             C.A. NO. H – 19 – 3235
                                            §                 ADMIRALTY
SAGA WELCO AS                               §


                             ORIGINAL COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

      Plaintiff DB Insurance Co., Ltd. files this Original Complaint against Defendant

SAGA Welco AS, in personam, and for causes of action respectfully will prove by a

preponderance of the credible evidence:

      1.     This action arises from damage and loss to maritime cargos, maritime torts

and/or breaches of maritime contracts.

      2.     Accordingly, the Court has original jurisdiction of these admiralty and

maritime claims under 28 U.S.C. §1333(1).

      3.     Plaintiff is a South Korean corporation with its principal place of business

in Seoul, South Korea.

      4.     At all times material, Plaintiff insured JP Steel International, Inc. (“JPSI”)

under an insurance policy.

      5.     Plaintiff paid JPSI for cargo loss under the insurance policy and/or is
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contractually and/or equitably subrogated to JPSI’s interest in the cargos made the basis

of this action.

       6.         Plaintiff brings this action for itself and, as necessary, for every person or

entity that is or may become interested in the cargos.

       7.         On information and belief, Defendant is a foreign business entity

organized under law in Norway.

       8.         On information and belief and at all times material, Defendant owned,

chartered, managed and/or operated the M/V SAGA FLORA as a common carrier of

goods by water for hire between various ports, including the Ports of Inchon, South

Korea, Pohang, South Korea, Los Angeles, California, and Houston.

       9.         On information and belief, Defendant is a foreign entity not authorized to

do business in Texas but, at all times material, did business in Texas by carrying cargo

aboard vessels to and from Texas, owning, operating and/or managing vessels in Texas

navigational waters, entering into charter parties, bills of lading and/or other contracts

of carriage in Texas, entering into charter parties, bills of lading and/or other contracts

of carriage to be performed wholly or partly in Texas, and/or by committing a tort in

Texas, each of which constitutes doing business in Texas in accordance with §17.042

of the Texas Civil Practice & Remedies Code.

       10.        On information and belief, Defendant is a non–resident as that term is used

in Subchapter C of Chapter 17 of the Texas Civil Practice & Remedies Code but has




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not designated or maintained a resident agent in Texas.

       11.    Alternatively, although Defendant may not be subject to the jurisdiction

of the courts of general jurisdiction of Texas or any other state, Plaintiff’s action arises

under federal law and, on information and belief, Defendant has sufficient national

minimum contacts with the United States as a whole.

       12.    The exercise of personal jurisdiction over Defendant is consistent with the

Constitutions and other laws of the United States and Texas.

       13.    Serving Defendant with a summons is effective to establish personal

jurisdiction over it.

       14.    Defendant can be served by serving the Texas Secretary of State, and

process or notice can be sent to Defendant at Tenvikveien 373–375, 3140 Nøtterøy,

Norway.

       15.    On or about December 16, 2018, JPSI’s shipper tendered in good order

and condition to Defendant at Pohang a cargo of ERW Steel Structural Tube. Defendant

agreed safely to receive, handle, load, stow, secure, carry, discharge and deliver at Los

Angeles the cargo in the same good order and condition as when received, in

consideration of paid freight charges. Defendant acknowledged receipt of the cargo in

good order and condition, and accordingly therewith, issued at Seoul various bills of

lading, including Bill of Lading No. SFCRKPOLAX 035027, free of exceptions or




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other notations for loss or damage, and loaded the cargo aboard the M/V SAGA

FLORA.

      16     Thereafter, on or about December 22, 2018, JPSI’s shipper tendered in

good order and condition to Defendant at Inchon a cargo of ERW Square/Rectangular

Tubing. Defendant agreed safely to receive, handle, load, stow, secure, carry, discharge

and deliver at Los Angeles the cargo in the same good order and condition as when

received, in consideration of paid freight charges. Defendant acknowledged receipt of

the cargo in good order and condition, and accordingly therewith, issued at Seoul

various bills of lading, including Bill of Lading No. SFCRINCLAX 035048, free of

exceptions or other notations for loss or damage, and loaded the cargo aboard the M/V

SAGA FLORA.

      17.    Thereafter, on or about February 25, 2019, the M/V SAGA FLORA

arrived at Los Angeles where Defendant later discharged the cargos, not in the same

good order and condition as when received but, on the contrary, much of the cargo was

dented, bent, bowed, nicked, gouged, smashed, crushed, out of round, flattened,

compressed, chafed, stained, rusted, contaminated, scratched and/or otherwise

physically damaged, and part of the cargos was short and never delivered. The loss and

Plaintiff’s resulting damages proximately resulted from Defendant’s acts and/or

omissions constituting negligence, breach of contract, breach of bailment, violation(s)

of the duties of a common carrier of goods by water for hire, and/or failure to perform

services in a workmanlike manner.


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       18.    Plaintiff proximately has sustained damages exceeding $16,182.38 plus

interest dating from the respective dates of shipment, demand for which has been made

upon Defendant, but which it refuses to pay.

       WHEREFORE, PREMISES CONSIDERED, Plaintiff DB Insurance Co., Ltd.

prays that this Honorable Court adjudge that Defendant SAGA Welco AS, in personam,

is liable to Plaintiff for its alleged damages, pre–judgment interest, post–judgment

interest, court costs and all other relief as justice and equity allow.

                                          Respectfully submitted,

                                          SHARPE & OLIVER, L.L.P.



                                          By
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